     Case 4:20-cv-05146-YGR          Document 650      Filed 05/06/22    Page 1 of 2




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11                               UNITED STATES DISTRICT COURT

12                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

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14 PATRICK CALHOUN, et al., on behalf of                Case No. 4:20-cv-5146-YGR-SVK
   themselves and all others similarly situated,
15                                                     [PROPOSED] ORDER GRANTING
          Plaintiffs,                                  GOOGLE LLC’S MOTION TO
16                                                     REMOVE INCORRECTLY FILED
17          v.                                         DOCUMENTS (DKTS. 632-1, 633)

18 GOOGLE LLC,                                         Referral: Hon. Susan van Keulen, USMJ

19           Defendant.

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                                                    -1-               Case No. 4:20-cv-05146-YGR-SVK
                                                   [PROPOSED] ORDER GRANTING MOTION TO REMOVE
                                                    INCORRECTLY FILED DOCUMENTS (DKTS. 632-1, 633)
     Case 4:20-cv-05146-YGR        Document 650      Filed 05/06/22     Page 2 of 2




 1                                        [PROPOSED] ORDER

 2         Before the Court is Defendant Google LLC’s Motion to Remove Incorrectly Filed Documents

 3 (Dkts. 632-1, 633) (“Motion”). Having considered the Motion and supporting papers, the Court

 4 hereby GRANTS the Motion.

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 6         SO ORDERED.

 7 DATED: May 6, 2022
                                                    THE HONORABLE SUSAN VAN KEULEN
 8                                                  United States Magistrate Judge
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                                                  -2-               Case No. 4:20-cv-05146-YGR-SVK
                                                 [PROPOSED] ORDER GRANTING MOTION TO REMOVE
                                                  INCORRECTLY FILED DOCUMENTS (DKTS. 632-1, 633)
